268 F.2d 959
    George B. PARR, D. C. Chapa, B. F. (Tom) Donald, Jr., JesusG. Garza, Santiago Garcia, Octavio Saenz, Jesus Oliveira, O.P. Carrillo, Oscar Carrillo, Sr., Texas State Bank of Alice,Alice, Texas, and San Diego State Bank, San Diego, Texas, Appellants,v.UNITED STATES of America, Appellee.
    No. 17071.
    United States Court of Appeals Fifth Circuit.
    Aug. 12, 1959.
    
      T. Gilbert Sharpe, Brownsville, Tex., for appellants.
      Malcolm R. Wilkey, Asst. Atty. Gen., William B. Butler, U.S. Atty., Houston, Tex., Edgar O. Bottler, Sp. Asst., to Atty. Gen., for appellee.
      Before TUTTLE, JONES and BROWN, Circuit Judges.
      PER CURIAM.
    
    
      1
      The petition for rehearing filed within the extended time allowed by the Court, points out three incorrect factual statements in the opinion.  None of these is material to the merits of the appeal or in any way affects the determination of the legal questions presented by it.  Nevertheless, in order that the statement of facts may be as accurate as a brief statement of a 6,000 page record permits, the following changes are made in the text of the opinion.
    
    
      2
      (1) On Page 3 of the printed opinion (265 F.2d 896, col. 1, lines 7 and 8 from bottom), the words 'as well as Alice, the county seat,' are eliminated.
    
    
      3
      (2) On page 4 of the printed opinion (265 F.2d 896, col. 2, line 25) the word 'member' before the name Oscar Carrillo, Sr. is changed to read 'secretary.'
    
    
      4
      (3) On page 4 (265 F.2d 896, col. 2, line 6 from bottom) the sentence, 'There were offices for George B. Parr, Chapa and for Oscar Carrillo, Sr., the secretary,' is eliminated.
    
    
      5
      The petition for rehearing is denied.
    
    